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                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION

A.H., a minor, by and through her            ]
grandmother,                                 ]
                                             ]
      Plaintiff,                             ]
                                             ]
v.                                           ]            2:18-cv-02081-ACA
                                             ]
JACKSON-OLIN HIGH SCHOOL,                    ]
et al.,                                      ]
                                             ]
      Defendants.                            ]

                   MEMORANDUM OPINION AND ORDER

      This matter comes before the court on Defendants Birmingham Board of

Education and Jackson-Olin High School’s motion to dismiss the amended

complaint. (Doc. 15). The amended complaint alleges that despite the existence of

an individual education program (“IEP”) requiring a teacher or paraprofessional to

strictly supervise minor Plaintiff A.H.’s non-academic or extracurricular activities,

teachers failed to supervise A.H. and on two occasions, other students raped or

sexually assaulted her at school.

      A.H. filed this lawsuit against the Birmingham Board of Education (“the

Board”) and Jackson-Olin High School, alleging that: (1) their failure to supervise

her in accordance with the IEP constituted deliberate indifference to her needs

(“Count One”); (2) their actions constituted discrimination under the Americans
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with Disabilities Act (“ADA”), 42 U.S.C. § 12182 (“Count Two”); and (3) their

failure to adequately supervise her was negligent or grossly negligent (“Count

Three”).

      The court GRANTS IN PART and DENIES IN PART the motion to

dismiss. First, Jackson-Olin High School is not a legal entity subject to suit, so the

court DISMISSES it as a defendant WITH PREJUDICE. Second, the court

DISMISSES Count One WITHOUT PREJUDICE because A.H. has not alleged

facts from which the court can infer the existence of a custom or policy that caused

a deprivation of A.H.’s federal rights. Third, the court DENIES the motion to

dismiss Count Two because contrary to Defendants’ only argument in support of

dismissal, a plaintiff can in some circumstances state an ADA claim based on

conduct that violates the Individuals with Disabilities Education Act (“IDEA”), 20

U.S.C. § 1400 et seq.        And finally, the court DISMISSES Count Three

WITHOUT PREJUDICE because the Board is entitled to state immunity from

the state law claims asserted in that count.

      I.     BACKGROUND

      At this stage, the court must accept as true the factual allegations in the

complaint and construe them in the light most favorable to the plaintiff. Butler v.

Sheriff of Palm Beach Cty., 685 F.3d 1261, 1265 (11th Cir. 2012).




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      A.H. is a student with “limited cognitive abilities.” (Doc. 12 at 6 ¶ 30). For

the 2017–2018 school year, when A.H. was attending the Jackson-Olin High

School, the school developed an IEP under the IDEA. (Doc. 12 at 3 ¶ 10). A.H.’s

IEP provided that she could participate in non-academic or extracurricular

activities only under the strict supervision of a teacher or paraprofessional. (Id. at

3 ¶ 11). A.H. alleges that teachers at Jackson-Olin High School were not trained

about the requirements of the IDEA and that the administrative staff “did little or

nothing” to ensure that teachers followed the IEPs. (Id. at 4 ¶ 13). As a result,

“the IEPs issued for students were largely ignored unless there was an issue with a

student potentially failing the grade or class,” and students with IEPs would

wander the halls without supervision. (Id. at 4–5 ¶¶ 12, 14, 27).

      In late October 2017, a male student came to A.H.’s classroom and told the

coach supervising the class that another teacher had “sent for A.H.” (Doc. 12 at 5

¶¶ 24–25). The coach allowed A.H. to leave with the other student unsupervised.

(Id. at ¶ 25). The student took A.H. to a classroom and raped her. (Id. at 6 ¶ 28).

A.H. reported the rape to her special education teacher. (Id.). The amended

complaint does not state what the teacher did about A.H.’s report, but it appears

that no one told A.H.’s grandmother—who appears to be A.H.’s guardian—about

the rape. (See id. at 5 ¶ 24).




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      Several days later, on November 1, 2017, A.H. was left unattended in the

girls’ locker room during her physical education class. (Doc. 12 at 4 ¶¶ 15, 17).

Four male students entered the locker room, kicked open the bathroom stall where

A.H. was located, and streamed themselves on Facebook forcing her to perform

oral sex on them. (Id. at 4 ¶ 17). Another student walked in on the assault and

stopped the male students. (Id. at 4 ¶ 18). The same student then reported the

assault to school authorities, who eventually reported the assault to the

Birmingham Police Department. (Id. at 4 ¶ 20). The school suspended A.H. and

the male students. (Id. at 5 ¶ 22).

      Slightly over a month later, A.H.’s grandmother took her to a pediatrician,

who found that A.H. had contracted chlamydia. (Doc. 12 at 5 ¶ 23). At that point

A.H.’s grandmother learned that A.H. had been raped a few days before the locker

room assault. (See id. at 5 ¶¶ 23–24).

      II.    DISCUSSION

      Defendants move to dismiss Jackson-Olin High School as a defendant

because it is not a legal entity subject to suit, to dismiss the federal counts for

failure to state a claim, under Federal Rule of Civil Procedure 12(b)(6), and to

dismiss the state law count for lack of subject matter jurisdiction, under Rule

12(b)(1). (Doc. 15).




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      A Rule 12(b)(1) motion to dismiss attacks the court’s subject matter

jurisdiction over case. By contrast, a Rule 12(b)(6) motion to dismiss attacks the

legal sufficiency of the complaint.     “To survive a [Rule 12(b)(6)] motion to

dismiss, the plaintiff must plead ‘a claim to relief that is plausible on its face.’”

Butler, 685 F.3d at 1265 (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555

(2007)). “A claim has facial plausibility when the plaintiff pleads factual content

that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

      1.     Jackson-Olin High School

      Defendants contend that the court must dismiss the Jackson-Olin High

School because it is not a legal entity capable of being sued. (Doc. 15 at 1 n.1).

The Alabama Supreme Court has held that where a city board of education

administers and supervises a public school, “the school is not a separate legal

entity from the Board.” Ex parte Bessemer City Bd. of Educ., 143 So. 3d 726, 729

(Ala. 2013). The amended complaint expressly alleges that “Jackson-Olin High

School is a high school that is managed and controlled by the Birmingham Board

of Education.” (Doc. 12 at 3 ¶ 8). Accordingly, Jackson-Olin High School is not a

legal entity separate from the Board, and the court DISMISSES it from this

lawsuit WITH PREJUDICE.




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      2.     Count One (Deliberate Indifference)

      The exact basis of Count One is unclear. The amended complaint alleges

that “Defendants knew A.H. was at risk of being harmed by other peers, but they

still left A.H. unsupervised several times resulting in multiple sexual assaults.

These failures to supervise A.H. were a clear violation of her IEP provisions and

constituted deliberate indifference.” (Doc. 12 at 6 ¶ 32). The amended complaint

also alleges that “[t]he deliberate indifference to A.H.’s IEP requirements and later

knowledge of a sexual assault proximately caused her injuries in this case. If staff

had supervised A.H. as required, she would not have been sexually assaulted on

either occasion and would not have received a suspension by the school for their

own failure.” (Id. at 8 ¶ 38). A.H. identifies the Fourth, Eighth, and Fourteenth

Amendments to the United States Constitution as the basis for this court’s subject

matter jurisdiction (id. at 2 ¶ 3), but Count One does not identify any of those

Amendments as the basis for the deliberate indifference claim (see id. at 6–8).

      The briefing on the motion to dismiss does little to clarify matters. The

Board contends that A.H. fails to state a claim because she has not alleged facts

showing that a policy or custom of the Board caused “the conduct” or that the

Board was aware of a pattern of constitutional violations. (Doc. 15 at 3). In

response, A.H. argues that the lack of training about how to administer IEPs

“created an environment where the school ignored individuals like A.H., which



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directly led to her sexual assault and rape.” (Doc. 19 at 3). But she still does not

identify the federal right that she asserts was violated. (See id.).

      Nevertheless, putting aside the ambiguity about which federal right A.H.

alleges was violated, the Board is correct that to hold it responsible, A.H. must

allege facts showing that its policy or custom caused the deprivation. (See Doc. 15

at 3). The Eleventh Circuit has explained that like municipalities, a school district

“may not be held liable under [42 U.S.C.] § 1983 based on a theory of respondeat

superior.” Sauls v. Pierce Cty. Sch. Dist., 399 F.3d 1279, 1287 (11th Cir. 2005);

see also Doe v. Sch. Bd. of Broward Cty., Fla., 604 F.3d 1248, 1263 (11th Cir.

2010) (applying the same standard to a claim asserted against a school board).

      Instead, to impose liability on a school board, the plaintiff must identify a

“‘policy’ or ‘custom’ causing the deprivation of federal rights.” Sauls, 339 F.3d at

1287; see Hill v. Cundiff, 797 F.3d 948, 977 (11th Cir. 2015) (“A plaintiff bringing

a . . . § 1983 claim must show a municipal custom, policy, or practice caused the

[conduct at issue].”). “The plaintiff ‘must show that the municipal action was

taken with the requisite degree of culpability and must demonstrate a direct causal

link between the municipal action and the deprivation of federal rights.’” Hill, 797

F.3d at 977 (quoting Bd. of Cty. Comm’rs of Bryan Cty. v. Brown, 520 U.S. 397,

410 (1997)).




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      A.H. has not identified any official policy, but she contends that she has

identified a custom of deliberate indifference to her bodily autonomy because the

teachers at the school ignored the IEP’s dictate that she could participate in non-

academic or extracurricular activities only with strict supervision of a teacher or

paraprofessional. (Doc. 19 at 2–4; see Doc. 12 at 4 ¶¶ 12–14, 5¶ 27). Even

construing all factual allegations in A.H.’s favor, the court cannot reasonably infer

the existence of a “direct causal link between the municipal action and the

deprivation of federal rights.” Hill, 797 F.3d at 977 (quotation marks omitted).

Although A.H. has alleged that teachers at the school were not trained in how to

follow IEPs (doc. 12 at 4 ¶¶ 12–13), and that lack of order in the classrooms

allowed students to wander the halls without supervision (id. at 4 ¶ 14, 5 ¶ 27), the

court cannot discern from the amended complaint how that lack of order or lack of

training in the requirements of IEPs caused the sexual assaults on A.H.

      A.H. argues that to establish the Board’s liability for “student-on-student

harassment,” she need only show that the Board had actual knowledge of and was

deliberately indifferent to sexual harassment that was so severe, pervasive, and

objectively offensive that it deprived the victim of access to educational

opportunities or benefits provided by the school. (Doc. 19 at 2). But the case she

cites in support of that argument, Davis v. Monroe County Board of Education,

526 U.S. 629 (1999), is about a plaintiff’s ability to assert a claim for damages



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under Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681 et seq.

Davis, 526 U.S. at 633. Nowhere in A.H.’s amended complaint does she identify

Title IX as the basis for Count One, and the court cannot construe the existence of

such a claim.     (See generally Doc. 12).     Accordingly, the court GRANTS

Defendants’ motion to dismiss Count One and DISMISSES Count One

WITHOUT PREJUDICE.

      3.     Count Two (Violation of the ADA)

      In Count Two, A.H. alleges that the Board violated the ADA by “knowingly

and willfully refus[ing] adequate compliance with Title II of the ADA due to their

deliberate indifference to A.H.’s needs and fail[ing] to comply with the necessary

disability accommodations and protections due A.H. pursuant to 42 U.S.C.

§ 12182.” (Doc. 12 at 9 ¶ 43). A.H. further alleges that the Board “excluded A.H.

from her ability to fully participate in getting an education by ignoring reasonable

accommodation that were necessary to protect A.H. from sexual assault or other

actions that could have been made against her.” (Id. at 9 ¶ 45). She does not

identify what accommodations and protections the Board should have afforded her.

(See generally id. at 8–10).

      The Board contends only that the ADA claim must fail because the primary

basis of the claim is a failure to carry out A.H.’s IEP, which, although it might




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amount to an IDEA violation, does not amount to an ADA violation.1 (Doc. 15 at

3–4).       A.H. responds that she is not asserting a violation of the IDEA, but

discrimination based on her disability because the school ignored her and other

students with disabilities despite its awareness of the first sexual assault. (Doc. 19

at 4–5).

        Title II of the ADA states that “no qualified individual with a disability

shall, by reason of such disability, be excluded from participation in or be denied

the benefits of the services, programs or activities of a public entity, or be

subjected to discrimination by any such entity.” 42 U.S.C. § 12132. To establish a

violation of Title II of the ADA, A.H. must show “(1) that [she] is a qualified

individual with a disability; (2) that [she] was either excluded from participation in

or denied the benefits of a public entity’s services, programs, or activities, or was

otherwise discriminated against by the public entity; and (3) that the exclusion,

denial of benefit, or discrimination was by reason of the plaintiff’s disability.”

J.S., III by & through J.S. Jr. v. Houston Cty. Bd. of Educ., 877 F.3d 979, 985

(11th Cir. 2017).

        By contrast, the IDEA was enacted to “to ensure that all children with

disabilities have available to them a free appropriate public education that


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         In its reply brief, the Board asserts that A.H. failed to administratively exhaust her ADA
claim. (Doc. 21 at 6–7). The court will not consider arguments raised for the first time in a reply
brief. See Herring v. Sec’y, Dep’t of Corr., 397 F.3d 1338, 1342 (11th Cir. 2005).


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emphasizes special education and related services designed to meet their unique

needs and prepare them for further education, employment, and independent

living.” 20 U.S.C. § 1400(d)(1)(A). “Although the IDEA provides various types

of remedies for plaintiffs—including restitution for some parental expenses,

compensatory education for students, and procedural remedies—the statute does

not provide tort-like relief.” Ortega v. Bibb Cty. Sch. Dist., 397 F.3d 1321, 1325

(11th Cir. 2005).    However, the IDEA “does not restrict or limit the rights,

procedures, and remedies available under . . . the Americans with Disabilities Act

of 1990.” Id.

      The distinction between an IDEA claim and a Title II claim is that “[t]he

IDEA guarantees individually tailored educational services, whereas Title II . . .

promise[s] non-discriminatory access to public institutions—specifically aiming to

root out disability-based discrimination, enabling each covered person to

participate equally to all others in public facilities and federally funded programs.”

J.S., III by & through J.S. Jr., 877 F.3d at 987 (quotation marks and alteration

omitted).   The Eleventh Circuit has agreed with other courts that “to prove

discrimination in the education context, something more than a mere failure to

provide the ‘free appropriate education’ required by IDEA must be shown.” Id. at

985–86 (quotation marks and alterations omitted). But it pointed out that “there is

often ‘some overlap in coverage’ across these statutes and . . . ‘[t]he same conduct



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might violate [the ADA and the IDEA].’” Id. at 987 (quoting Fry v. Napoleon

Cmt. Sch., 137 S. Ct. 743, 756 (2017)).

       The Board contends that although A.H. has called Count Two a claim for

relief under Title II of the ADA, it is in fact a claim that she was denied a free

appropriate public education under the IDEA, barring her request for monetary

damages. (Doc. 15 at 3–4). But as discussed above, the Eleventh Circuit has held

that overlap between a potential IDEA claim and an ADA claim alone is not a

basis to dismiss an ADA claim. See J.S. III by and through J.S. Jr., 877 F.3d at

986–87 (“Although this claim could be brought as a [free appropriate public

education] violation for failure to follow J.S.’ IEP, we conclude that it is also

cognizable as a separate claim for intentional discrimination under the ADA”

because “[a]lthough the circumstances alleged here do involve a violation of J.S.’

IEP,   they    also   implicate   those   further,   intangible   consequences   of

discrimination.”).

       The Board has not provided any argument aside from its bare assertion that

A.H.’s claim is based on the Board’s failure to carry out her IEP. Accordingly, the

court DENIES the motion to dismiss Count Two.

       4.     Count Three (Negligence)

       In Count Three, A.H. alleges that the Board had a duty to protect her from

harm and that it breached that duty by failing to properly monitor her. (Doc. 12 at



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10–11). The Board moves to dismiss this count because Article I, § 14 of the

Alabama Constitution grants boards of education constitutional immunity from

suit. (Doc. 15 at 4–5). A.H. does not respond to the assertion of immunity. (See

Doc. 19).

       Rule 12(b)(1) permits a party to move to dismiss a claim for “lack of

subject-matter jurisdiction.” Article I, § 14 of the Alabama Constitution provides

that “the State of Alabama shall never be made a defendant in any court of law or

equity.” Ala. Const. Art I, § 14. The Alabama Supreme Court has held that city

boards of education are agencies of the State, entitled to absolute immunity, under

Article I, § 14, from negligence claims. Ex parte Bessemer City Bd. of Educ., 143

So. 3d at 728–29. Accordingly, the court GRANTS the motion to dismiss Count

Three on the ground that the Board is entitled to absolute immunity from the

claims asserted in that count.

       III.   CONCLUSION

       The court GRANTS IN PART and DENIES IN PART the motion to

dismiss. The court GRANTS the motion to dismiss and DISMISSES WITH

PREJUDICE Jackson-Olin High School as a defendant; DISMISSES

WITHOUT        PREJUDICE         Count   One;   and   DISMISSES       WITHOUT

PREJUDICE Count Three. The court DENIES the motion to dismiss Count

Two.



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DONE and ORDERED this April 4, 2019.



                          _________________________________
                          ANNEMARIE CARNEY AXON
                          UNITED STATES DISTRICT JUDGE




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